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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CHASOM BROWN, et al.,                             Case No. 20-cv-03664-YGR (SVK)
                                   8                    Plaintiffs,
                                                                                           REDACTION ORDER
                                   9             v.
                                                                                           Re Dkt. No. 830
                                  10     GOOGLE LLC,
                                  11                    Defendant.

                                  12          The Court’s January 17, 2023 Order on (1) Google's Motion for Relief Regarding
Northern District of California
 United States District Court




                                  13   Preservation, and (2) Parties’ Joint Submission re Preservation in Light of Class Certification

                                  14   Order (Dkt. 830) has been provisionally filed under seal. The Parties are ordered to meet and

                                  15   confer and submit joint proposed redactions to the Order, an administrative motion for leave to file

                                  16   under seal, and a proposed order by January 24, 2023. If no proposed redactions are received by

                                  17   11:59 p.m. on January 24, 2023, the Court will unseal the Order in its entirety.

                                  18          SO ORDERED.

                                  19   Dated: January 17, 2023

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                                                                                                    SUSAN VAN KEULEN
                                  22                                                                United States Magistrate Judge
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